         Case 8:25-ap-01105-SC Doc 144 Filed 05/18/25 Entered 05/18/25 21:15:23                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Central District of California
Marshack,
      Plaintiff                                                                                                        Adv. Proc. No. 25-01105-SC
World Global Fund LLC,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: May 16, 2025                                               Form ID: pdf031                                                           Total Noticed: 38
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 18, 2025:
Recip ID                   Recipient Name and Address
dft                    +   Brickstone Group LTD, 20 West 47th St Ste 401, New York, NY 10036-3455
dft                    +   Coast Processing LLC, 7901 4th St N Ste 5765, St. Petersburg, FL 33702-4305
dft                    +   Crystal Springs Capital LLC, c/o Mark David, 1111 Brickell Ave Ste 2725, Miami, FL 33131-3128
dft                    +   EOM Business Capital LLC, c/o The Limited Liability Company, 4615 Surf Ave, Brooklyn, NY 11224-1047
dft                    +   Everyday Group LLC, c/o The LLC, 63 Flushing Unit 148, Brooklyn, NY 11205-1070
dft                    +   Funding Gateway, Inc., c/o File Right RA Services LLC, 330 Changebridge Rd Ste 101, Pine Brook, NJ 07058-9839
dft                    +   Funding Gateway, Inc., c/o The Corp., 5314 16th Ave Ste 139, Brooklyn, NY 11204-1425
dft                    +   Funding Gateway, Inc., c/o Cloud Peak Law LLC, 1095 Sugar View Dr Ste 500, Sheridan, WY 82801-5386
dft                    +   Genesis Equity Group Funding LLC, 5308 13th Ave Ste 422, Brooklyn, NY 11219-5198
dft                    +   Glass media, 1095 Sugar View Dr Ste 500, Sheridan, WY 82801-5386
dft                    +   Goldcrest Associates LLC, c/o the LLC, 1253 E. 28th St, Brooklyn, NY 11210-4626
dft                    +   Hybrid Advance LLC, c/o Ariel Ilyabayev, 9918 62nd Dr, Rego Park, NY 11374-1938
dft                    +   LPG Capital LLC, 10 Jill Ln, Monsey, NY 10952-2619
dft                    +   LPG Holdings LLC, c/o Registered Agents, Inc., 30 N. Gould St Ste R, Sheridan, WY 82801-6317
dft                    +   MNS Funding LLC, 5314 16th Ave Ste 139, Brooklyn, NY 11204-1425
dft                        Moishe Gubin, 1230 Ridgedale Rd, South Bend, In 46614-2108
dft                    +   Optimum Bank Holdings, Inc., c/o Avi Zwelling, 2929 E. Commercial Blvd Ste 303, Ft. Lauderdale, Fl 33308-4219
dft                    +   Optimumbank, 2929 E. Commercial Blvd Ste 303, Ft. Lauderdale, Fl 33308-4219
dft                    +   Optimumbank.com, Attn: Mary Franco, 2929 E. Commercial Blvd Ste 101, Ft. Lauderdale, Fl 33308-4217
dft                    +   PSF 2020 Inc., c/o The Corporation, 3921 14th Ave, Brooklyn, NY 11218-3619
dft                    +   PSF LLC, Attn: Rich Palma, 520 8th Ave Ste 1001, New York, NY 10018-6569
dft                    +   Parkside Capital Group LLC, c/o USACORP, 325 Division Ave Ste 201, Brooklyn, NY 11211-7348
dft                    +   SSD Investment Group, LLC, c/o Shia Dembitzer, 7901 4th St N Ste 5765, St. Petersburg, FL 33702-4305
dft                    +   SSD Investment Group, LLC, 14400 Bear Valley Rd Sp 527, Victorville, CA 92392-5410
dft                    +   SSD Investment Group, LLC, c/o Natesh Singh Dole, 13745 Holt Ct, Victorville, Ca 92394-7539
dft                    +   Safe Vault Capital LLC, c/o The Company, 12 Bayview Ave Ste 321, Lawrence, NY 11559-4014
dft                        Shia Dembitzer, 202 Foster Ave Apt 5, Brooklyn, NY 11230-2129
dft                    +   Slate Advance LLC, c/o The LLC, 15 America Ave Ste 3, Lakewood, NJ 08701-4584
dft                    +   Solomon Feig, 4518 18th Ave, Brooklyn, NY 11204-1204
dft                    +   Supreme Advance LLC, c/o File Right LLC, 5314 16th Ave Ste 139, Brooklyn, NY 11204-1425
dft                    +   Vertex Capital (US) Funding LLC, c/o Cloud Peak Law LLC, 1095 Sugar View Dr Ste 500, Sheridan, WY 82801-5386
dft                    +   Vertex Capital Partners LLC, c/o Registered Agents Inc., 30 N. Gould St Ste R, Sheridan, WY 82801-6317
dft                    +   WGF Capital Inc., c/o Joshua Feig, 1846 50th St, Brooklyn, NY 11204-1252
dft                    +   WORLD GLOBAL FUND LLC, 5314 16th Ave Ste 139, Brooklyn, NY 11204-1425
dft                    +   Weinman and Associates, LLC, c/o Cloud Peak Law LLC, 1095 Sugar View Dr Ste 500, Sheridan, WY 82801-5386
dft                    +   World Global Fund LLC, c/o File Right, LLC, 5314 16th Ave Ste 139, Brooklyn, NY 11204-1425
dft                    +   World Global Fund LLC, c/o Funding Gateway Inc., 1309 Coffeen Ave Ste 1200, Sheridan, WY 82801-5777

TOTAL: 37

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
pla                        Email/Text: richard.marshack@txitrustee.com
                                                                                        May 17 2025 01:00:00      Richard A Marshack, 870 Roosevelt Ave, Irvine,
                                                                                                                  CA 92620
        Case 8:25-ap-01105-SC Doc 144 Filed 05/18/25 Entered 05/18/25 21:15:23                                                              Desc
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District/off: 0973-8                                               User: admin                                                            Page 2 of 3
Date Rcvd: May 16, 2025                                            Form ID: pdf031                                                      Total Noticed: 38
TOTAL: 1


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
intp                             Courtesy NEF

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 18, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 16, 2025 at the address(es) listed below:
Name                             Email Address
Brian A Paino
                                 on behalf of Defendant Optimumbank bpaino@hinshawlaw.com hmosothoane@hinshawlaw.com;crico@hinshawlaw.com

Brian A Paino
                                 on behalf of Defendant Moishe Gubin bpaino@hinshawlaw.com hmosothoane@hinshawlaw.com;crico@hinshawlaw.com

Brian A Paino
                                 on behalf of Defendant Optimumbank.com bpaino@hinshawlaw.com hmosothoane@hinshawlaw.com;crico@hinshawlaw.com

Brian A Paino
                                 on behalf of Defendant Optimum Bank Holdings Inc. bpaino@hinshawlaw.com,
                                 hmosothoane@hinshawlaw.com;crico@hinshawlaw.com

Christopher Ghio
                                 on behalf of Plaintiff Richard A Marshack Christopher.Ghio@dinsmore.com angelica.urena@dinsmore.com

Ira David Kharasch
                                 on behalf of Defendant Solomon Feig ikharasch@pszjlaw.com

Joseph Boufadel
                                 on behalf of Defendant Slate Advance LLC jboufadel@salvatoboufadel.com
                                 Gsalvato@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

Joseph Boufadel
                                 on behalf of Interested Party Courtesy NEF jboufadel@salvatoboufadel.com
                                 Gsalvato@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

Karen Hockstad
                                 on behalf of Trustee Richard A Marshack (TR) karen.hockstad@dinsmore.com kim.beavin@dinsmore.com

Karen Hockstad
                                 on behalf of Plaintiff Richard A Marshack karen.hockstad@dinsmore.com kim.beavin@dinsmore.com

Matthew Sommer
                                 on behalf of Plaintiff Richard A Marshack matthew.sommer@dinsmore.com carrie.davis@dinsmore.com

Matthew Sommer
                                 on behalf of Trustee Richard A Marshack (TR) matthew.sommer@dinsmore.com carrie.davis@dinsmore.com

Michael Lundholm
                                 on behalf of Defendant Genesis Equity Group Funding LLC mlundholm@londonstoutlaw.com
        Case 8:25-ap-01105-SC Doc 144 Filed 05/18/25 Entered 05/18/25 21:15:23                            Desc
                            Imaged Certificate of Notice Page 3 of 5
District/off: 0973-8                                         User: admin                                 Page 3 of 3
Date Rcvd: May 16, 2025                                      Form ID: pdf031                           Total Noticed: 38
Richard A Marshack (TR)
                             pkraus@marshackhays.com ecf.alert+Marshack@titlexi.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov

Victoria Newmark
                             on behalf of Defendant Solomon Feig vnewmark@pszjlaw.com
                             hdaniels@pszjlaw.com;bdassa@pszjlaw.com;hwinograd@pszjlaw.com

Yosina M Lissebeck
                             on behalf of Plaintiff Richard A Marshack Yosina.Lissebeck@Dinsmore.com
                             caron.burke@dinsmore.com;ayrton.celentino@dinsmore.com


TOTAL: 17
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   1 CHRISTOPHER CELENTINO (131688)
     christopher.celentino@dinsmore.com
   2 CHRISTOPHER B. GHIO (259094)
     christopher.ghio@dinsmore.com                            FILED & ENTERED
   3 YOSINA M. LISSEBECK (201654)
     yosina.lissebeck@dinsmore.com
   4 DINSMORE & SHOHL LLP                                              MAY 16 2025
     655 West Broadway, Suite 800
   5 San Diego, CA 92101                                          CLERK U.S. BANKRUPTCY COURT
     Tele: 619.400.0500                                           Central District of California
                                                                  BY bolte      DEPUTY CLERK
   6 Fax: 619.400.0501
   7
     KAREN S. HOCKSTAD (OH 61308) (Admitted pro hac vice)
   8 karen.hockstad@dinsmore.com
     MATTHEW H. SOMMER (OH 101721; NC 51004) (Admitted pro hac vice)
   9 matthew.sommer@dinsmore.com
     DINSMORE & SHOHL LLP
  10 191 W. Nationwide Blvd., Suite 200
     Columbus, OH 43215
  11 Tele: 614-628-6930
     Fax: 614-628-6890
  12
     Attorneys for Richard A. Marshack, Trustee of the LPG Liquidation Trust
  13
  14                       UNITED STATES BANKRUPTCY COURT
  15        CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  16    In re:
                                                     Chapter 11
  17    THE LITIGATION PRACTICE
        GROUP P.C.,                                  Bankr. Case No. 8:23-bk-10571 SC
  18
        Debtor.                                      Adv. Proc. No.: 8:25-ap-01105-SC
  19
                                                     ORDER DENYING STIPULATION
  20                                                 BETWEEN DEFENDANT SLATE
                                                     ADVANCE, LLC AND PLAINTIFF
  21     RICHARD A. MARSHACK,                        RICHARD A. MARSHACK TO
         Trustee of the LPG Liquidation Trust,       CONTINUE HEARING ON SLATE
  22                                                 $'9$1&(//&¶6027,2172
                    Plaintiff,                       ',60,6675867((¶6$'9(56$5<
  23                                                 COMPLAINT FROM JULY 3, 2025
                   v.                                TO JULY 24, 2025
  24
        WORLD GLOBAL FUND, LLC, et                   Judge: Hon. Scott C. Clarkson
  25    al.,
                                                     Place: Courtroom 5C
  26              Defendants.                              411 W Fourth Street
                                                           Santa Ana, CA 92701
  27
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   1           7KH %DQNUXSWF\ &RXUW KDYLQJ FRQVLGHUHG ³6WLSXODWLRQ %HWZHHQ 'HIHQGDQW

   2 Slate Advance, LLC and Plaintiff Richard Marshack to Continue Hearing on Slate
   3 $GYDQFH//&¶V0RWLRQWR'LVPLVV7UXVWHH¶V$GYHUVDU\&RPSODLQWIURP-XO\
   4 WR-XO\´ WKH³6WLSXODWLRQ´ EHWZHHQ3ODLQWLII5LFKDUG$0DUVKDFNDV7UXVWHH
   5 RI WKH /3* /LTXLGDWLRQ 7UXVW ³3ODLQWLII´) and Defendant Slate Advance LLC
   6    ³'HIHQGDQW´ ILOHGRQ0D\ 'RF1R141), and for good cause appearing,

   7           IT IS HEREBY ORDERED THAT:

   8           1.     The Stipulation is DENIED for lack of good cause shown.

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       Date: May 16, 2025
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